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                           IN THE UNITED STATES DISTRICT COURT
                                    DISTRICT OF KANSAS

    KAREN COUNTRYMAN-ROSWURM,                             )
                                                          )
                                     Plaintiff,           )
                                                          )
    v.                                                    )            Case No. 21-cv-02489
                                                          )
    WICHITA STATE UNIVERSITY, ET AL.,                     )
                                                          )
                                     Defendants           )


                    DEFENDANT RICHARD MUMA’S NOTICE OF APPEAL

         Pursuant to Federal Rule of Appellate Procedure 3(a)(1), Defendant Richard Muma (“Dr.

Muma”) hereby appeals to the United States Court of Appeals for the Tenth Circuit from the

District Court’s Memorandum and Order (ECF No. 24) dated August 2, 2022, denying Dr.

Muma qualified immunity. 1

                                                     Respectfully Submitted,

                                                     /s/ Rachel S. Kim
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                                                     STATE UNIVERSITY AND RICHARD MUMA




1
 The district court’s denial of qualified immunity is an immediately appealable final decision within the meaning of
28 U.S.C. §1291. Behrens v. Pelletier, 516 U.S. 299, 306 (1996).

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                                    CERTIFICATE OF SERVICE

         This is to certify that on the 22nd day of August 2022, the above and foregoing was

electronically filed via the Court ECF filing system, which will provide notice of the same to all

counsel of record.

                                             /s/ Rachel S. Kim
                                             Attorney for Defendants




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